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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


KATHERINE EBAN FINKELSTEIN,

             Plaintiff,

      v.                                            Civil Action No. 1:22-cv-02435 (CJN)

DEPARTMENT OF HEALTH AND
HUMAN SERVICES,

             Defendant.


                          STANDING ORDER FOR FOIA CASES

       This Standing Order applies to FOIA cases assigned to Judge Carl J. Nichols. Parties must

familiarize themselves and comply with the following:

1.     Local Rules

       Absent a contrary order of the Court, the Parties shall comply with the Rules of the U.S.
       District Court for the District of Columbia (“Local Civil Rules”), which are available at
       https://www.dcd.uscourts.gov/court-info/local-rules-and-orders/local-rules.

2.     Communications with Chambers

       Except to inform the Court of an actual emergency, the Parties may not contact Chambers
       by telephone. Parties may contact the Courtroom Deputy Clerk, Courtney Lesley, at
       Courtney_Lesley@dcd.uscourts.gov or (202) 354-3101, with scheduling inquiries about
       the case. Chambers will not provide legal advice of any kind.

3.     Service of the Complaint & Standing Order

       Plaintiff must promptly serve the Complaint in accordance with Federal Rule of Civil
       Procedure 4; shall file the proof of service with the Court, in accordance with Local Civil
       Rule 5.3; and shall ensure that all Parties receive a copy of this Standing Order.

4.     Amended Pleadings

       Any amended pleadings shall be accompanied by a redline comparison of the original and
       amended pleading.

5.     Initial Joint Status Report & Scheduling Order


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       After Defendant files an Answer, the Parties shall file, within 30 days of the filing of the
       Answer, a Joint Status Report addressing (1) the status of Plaintiff’s FOIA request; (2) the
       anticipated number of documents responsive to Plaintiff’s FOIA request; (3) the anticipated
       dates(s) for release of the documents requested by Plaintiff; (4) whether a motion for stay
       is likely under Open America v. Watergate Special Prosecution Force, 547 F.2d 605 (D.C.
       Cir. 1976); (5) the possibility of prioritizing documents responsive to Plaintiff’s requests
       and any discussions regarding whether Plaintiff’s requests can be narrowed; and (6)
       whether the Parties anticipate summary judgment briefing and, if so, a proposed briefing
       schedule. After submission of the Report, the Court will, if necessary, schedule an Initial
       Scheduling Conference. Following submission of the Report or following the Initial
       Scheduling Conference, the Court will issue a Scheduling Order that will govern
       proceedings in the case as appropriate.

6.     Rescheduled Hearings

       Requests to reschedule hearings are discouraged. If a Party seeks to change a previously
       scheduled hearing date, the Party must meet and confer with the Opposing Party and file a
       motion at least one week prior to the scheduled hearing 1 that shows good cause and
       proposes four alternative dates and times that would be convenient for all Parties. If the
       Party’s suggested dates and/or times are not available on the Court’s calendar, the Court
       will select an alternative date and/or time.

       In the event that the Court is closed or has a delayed opening due to inclement weather or
       an unforeseen emergency, affected hearings will be rescheduled by the Courtroom Deputy
       Clerk.

7.     Motions Generally

       a.      Proposed Orders

               Proposed orders submitted by an ECF user in an ECF case shall be filed in PDF
               format and attached to the electronically filed document to which they pertain. See
               LCvR 7(c).

               In addition, proposed orders shall be submitted in Word format to
               CJNpo@dcd.uscourts.gov.

       b.      Format

               Every memorandum of points and authorities that is ten pages or more in length
               must contain a Table of Contents and Table of Authorities, regardless of whether
               the memorandum is filed in support of or in opposition to a motion.



1
  If a Party cannot comply with this one-week requirement, it must explain why it cannot do so in
its motion.



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               Filings shall include a page number at the bottom of each page.

               All memoranda shall have one-inch margins and all text in the main body must be
               double-spaced and in twelve-point Times New Roman font, while all footnotes
               must be single-spaced (with twelve-point spacing between each footnote) and in
               twelve-point Times New Roman font. Local Civil Rule 7(e) sets page limitations.

               Memoranda shall not include an excessive use of footnotes, LCvR 5.1(d), or
               acronyms. Parties shall define uncommon acronyms on first usage. If the Court’s
               restriction on the use of acronyms will result in an inability to conform to the page
               limitations set by Local Civil Rule 7(e), then a Party may file a motion for excess
               pages.

               Each submission that includes more than one exhibit shall contain an index of
               exhibits. Exhibits shall be properly edited to exclude irrelevant material and to
               direct the Court’s attention to pertinent portions.

       c.      Courtesy Copies

               Parties shall submit to Chambers upon filing two courtesy copies of any filing that
               exceeds twenty-five pages, including exhibits and, if applicable, the administrative
               record. For filings over 250 pages, the Parties should contact chambers at
               Nichols_Chambers@dcd.uscourts.gov prior to submission.

8.     Motions for Extension of Time

       a.      Generally

               Motions for extension of time are discouraged. Any such motions should be filed
               at least four days prior to the deadline and conform with the requirements of Section
               9(b). 2 Extensions or enlargements of time will only be granted upon motion and
               not upon stipulation of the Parties.

       b.      Content

               Motions for extension of time must include the following:
                  i. the original date of the deadline the motion is seeking to extend;
                 ii. the number of previous extensions of time granted to each Party;
               iii. the good cause supporting the motion;
                iv.  the effect, if any, that the granting of the motion will have on existing
                     deadlines;
                 v.  for requests seeking to extend the deadline of a motion, suggested deadlines
                     (reached in consultation with the Opposing Party) for the filing of any
                     opposition and reply papers; and

2
  If a Party cannot comply with this four-day requirement, it must explain why it cannot do so in
its motion.


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               vi.   the Opposing Party’s position on the motion, including any reasons given
                     for refusing to consent, see LCvR 7(m).

      c.      Opposition

              If a Party intends to file an opposition to a motion for an extension of time, it must
              file the opposition by 5:00 PM the business day after the motion is filed.

9.    Motions for Summary Judgment

      The Court strictly enforces Local Civil Rule 7(h) when resolving motions for summary
      judgment and will “assume that facts identified by the moving party in its statement of
      material facts are admitted, unless such a fact is controverted in the statement of genuine
      issues filed in opposition to the motion.” LCvR 7(h); see also Fed. R. Civ. P. 56(e).
      Additionally, Parties must comply with the following instructions when briefing motions
      for summary judgment:

      a.      The Moving Party’s statement of material facts shall be a short and concise
              statement, in numbered paragraphs, of all material facts as to which the Moving
              Party claims there is no genuine dispute. The statement must contain only one
              factual assertion in each numbered paragraph.

      b.      The Party responding to a statement of material facts must respond to each
              paragraph with a correspondingly numbered paragraph, indicating whether that
              paragraph is admitted or denied. If a paragraph is admitted only in part, the Party
              must specifically identify which parts are admitted and which parts are denied.

      c.      The Court may assume that facts identified by the Moving Party in its statement of
              material facts are admitted unless such facts are controverted in the statement filed
              in opposition to the motion.

      d.      The Opposing Party must include any information relevant to its response in its
              correspondingly numbered paragraph with specific citations to the record.

      e.      If the Responding Party, however, has additional facts that are not directly relevant
              to its response, it must identify such facts in consecutively numbered paragraphs at
              the end of its responsive statement of facts. If additional factual allegations are
              made, the Opponent must file a responsive statement of its own.

                                        *       *       *

      It is so ORDERED.


DATE: August 22, 2022
                                                            CARL J. NICHOLS
                                                            United States District Judge


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